          Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


Abdollah Abdollahi et al.,

                       Plaintiffs,

               v.                                         Case Number: 1:19-cv-03688-ABJ

National Iranian Tanker Co. et al.,

                       Defendants.



      PLAINTIFFS’ MOTION FOR LIMITED DISCOVERY IN AID OF DEFAULT
           JUDGMENT AND SUPPORTING MEMORANDUM OF LAW


       NOW COME the Plaintiffs, Abdollah Abdollahi et al., by and through undersigned

counsel, pursuant to Federal Rule of Civil Procedure 26(d), to move this Court to grant limited

discovery in the above-titled suit. The Clerk entered default against all Defendants because they

failed to file an Answer to communicate (see Doc. 7, Clerk’s Entry of Default as to National

Iranian Tanker Company; Doc. 11, Clerk’s Entry of Default as to Alaedin Boroujerdi, Ali

Rabiei). Plaintiffs intend to move for default judgment against Defendants as early as possible.

However, in absence of the regular course of discovery in this case, Plaintiffs need to develop the

evidentiary record in support of the jurisdictional aspect of Plaintiffs’ claims under Alien Tort

Claims Act. As such, Plaintiffs respectfully request that this Court order limited, expedited

discovery for ninety (90) days under Rule 26 of the Federal Rules of Civil Procedure so that

Plaintiffs may discover information from the following non-parties: (1) information and data,

such as recordings and devices pertinent to the case, from Insurance Clubs and

Management/Owners of other commercial ships near the Sanchi incident regarding the collision;

(2) testimonies from foreign witnesses with direct knowledge of the accident and testimony by
                                                 1
           Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 2 of 7




an expert witness to evaluate the accident; (3) information the U.S. Department of State

possesses regarding the accident and Search and Rescue activities; and (4) surveillance data

collected by the United States Navy at the time of the Sanchi incident.

        Counsel for Plaintiffs is currently in the process of gathering all available documents

from Plaintiffs. Counsel also has knowledge of DVR data that may be in the possession of the

Sanchi’s insurance company, Steamship Mutual. Counsel further has reason to believe that the

U.S. Navy is in possession of relevant surveillance data, which could shed light on the truth of

the Sanchi’s collision and sinking.1 Without developing such evidentiary proof, the interests of

justice will not be met in this case. Plaintiffs seek not only monetary damages, but also answers

to their questions regarding the fates of their loved ones. Limited discovery will serve to provide

such answers, while also securing sufficient factual grounds upon which Plaintiffs may then

move for default judgment against Defendants.

                                      FACTUAL BACKGROUND

        On December 10, 2019, Plaintiffs filed this complaint against Defendants the National

Iranian Tanker Company (hereinafter “NITC”); former Labor Minister, head of the Sanchi

Accident Investigation Committee and current Iranian government spokesman, Ali Rabiei; and

the former head of the National Security and Foreign Relations Commission and head of the

Iran-China Friendship Chamber, Alaeddin Boroujerdi. (Doc. 1, Complaint; later amended on

January 14, 2020 in Doc. 3.) This complaint comes as a result of the Sanchi Oil Tanker Disaster

on January 6, 2018. The Sanchi oil tanker, a Panamanian-flagged, Iranian-crewed ship, collided

with a Chinese cargo ship, the CF Crystal, in the East China Sea. This crash resulted in the

sinking of the Sanchi after several explosions. Hours after the ship sank, President Rouhani of

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  U.S. Navy aircraft joins search and rescue efforts for missing mariners in East China Sea
https://www.c7f.navy.mil/Media/News/Display/Article/1409720/us-navy-aircraft-joins-search-and-rescue-efforts-
for-missing-mariners-in-east-c/

                                                       2
            Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 3 of 7




Iran wrote a letter stating that the entire crew had perished in the early moments of the incident,

that their deaths were in the course of “resistance economics,” and demanding that the decedents

be considered “martyrs.” However, no evidence of the entire crew’s deaths has been produced to

date. See Doc. 3, Amended Complaint, ¶¶ 21-62.

          Plaintiffs allege that Defendants deliberately lied to the Iranian people and their families

about the deaths of the crew and have pressured the families to accept their version of events

following the collision to put an end to questions about the incident. Defendants have denied the

families access to information about the incident and their relatives. In the official crash report

approved by Iran, China, Panama, and Hong Kong, officials state that the majority of the crew

are considered “missing” and that only three bodies were discovered in the aftermath.

          Service was performed on Defendants Rabiei and Boroujerdi on February 17, 2020, and

upon Defendant NITC on February 23, 2020 (see Doc. 4, Return of Service/Affidavit). No

response has been received by any of the Defendants, and notice of default was entered against

Defendant NITC on May 3, 2020 and against Defendants Rabiei and Boroujerdi on July 22,

2020. Because Defendants are in default and unresponsive to communications, Plaintiffs are now

entitled to move for default judgment against Defendants. However, discovery is necessary to

support such a motion. This case is predicated upon Defendants’ refusal to provide answers and

evidence regarding the Sanchi and its crew’s fate. In the interests of justice, Plaintiffs seek

limited, expedited discovery so that evidence may be established not only to provide basis for a

motion for default judgment, but also to finally deliver to these families the answers they have

sought.




                                                    3
          Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 4 of 7




                                      LEGAL ARGUMENT

       This Court has previously noted that while Federal Rule of Civil Procedure 26 empowers

the Court to order discovery without conference between parties, it provides no standard by

which such motions should be assessed. In re Fannie Mae Derivative Litig., 227 F.R.D. 142, 142

(D.D.C., 2005). Rather, this Court has looked to “two common judicial approaches” to aid in

assessment of requests for expedited discovery: first, the “Notaro test” set out in Notaro v. Koch,

95 F.R.D. 403, 405 (S.D.N.Y. 1982):

       [C]ourts should require the plaintiff to demonstrate (1) irreparable injury, (2)
       some probability of success on the merits, (3) some connection between the
       expedited discovery and the avoidance of the irreparable injury, and (4) some
       evidence that the injury that will result without expedited discovery looms greater
       than the injury that the defendant will suffer if the expedited relief is granted.

Second, this Court looked to the “reasonableness test”, considering the "reasonableness of the

request in light of all of the surrounding circumstances". These factors include:

       (1) whether a preliminary injunction is pending; (2) the breadth of the discovery
       requests; (3) the purpose for requesting the expedited discovery; (4) the burden on
       the defendants to comply with the requests; and (5) how far in advance of the
       typical discovery process the request was made. In re Fannie Mae at 142 (citing
       Entm't Tech. Corp. v. Walt Disney Imagineering, 2003 U.S. Dist. LEXIS 19832,
       2003 WL 22519440, at *3-5.)

Under either test, Plaintiffs assert that the requested discovery is appropriate in this case.

Because Defendants are in default, no typical discovery period is anticipated without the Court’s

order, and Plaintiffs would be obliged to move for default judgment to advance proceedings

against Defendants. Plaintiffs have not moved for a preliminary injunction to preserve evidence.

Plaintiffs seek the Court’s permission to engage in discovery at this time rather than proceed to a

motion for default judgment without further evidence in the record.




                                                   4
          Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 5 of 7




   1. Plaintiffs request limited, expedited discovery so that they may subsequently move
      for default judgment.

   Plaintiffs intend to move for default judgment because Defendants are in default and have not

attempted to participate in litigation. However, Plaintiffs have asserted several claims against

Defendants that require discovery to be sufficiently established to justify default judgment

pursuant to Fed. R. Civ. Proc. 55(b)(2)(C). This case involves deliberate actions taken by

Defendants to prevent Plaintiffs from uncovering details regarding the Sanchi incident and put an

end to the public demands for information. Plaintiffs have chosen to pursue litigation both to

uncover the truth and to hold Defendants accountable for their actions. The discovery process is

therefore essential to the success of Plaintiffs’ suit. Many third parties have asserted facts that

contradict the official story promoted by Defendants. See e.g., Doc. 3, Amended Complaint

¶¶ 48–59. Discovery of this information will establish evidence of Defendants’ illegal actions,

essential to establish the truth of Plaintiffs’ allegations under Federal Rule of Civil Procedure

55(b)(2)(C).

   2. Under the Notaro test, Plaintiffs should be granted limited, expedited discovery.

   If Plaintiffs are not permitted to engage in discovery prior to moving for default judgment

against Defendants, they will suffer irreparable injury. Defendants have consistently engaged in

actions to prevent the family members of the Sanchi crew from learning the truth regarding the

Sanchi incident. See e.g., Doc. 3, Amended Complaint ¶¶ 60–73. Plaintiffs have knowledge of

evidence that contradicts the Iranian government’s official story—namely, official statements

from NITC’s spokesman about the likelihood of crew survival, which rejected by Plaintiffs

evidence reporting that there was distress signals made from the Sanchi and surrounding ships,

and reports of lifeboats released from the Sanchi. See Doc. 3, Amended Complaint ¶¶ 29–35).

Plaintiffs hope that through this suit they may learn the truth. Without discovery, evidence

                                                  5
          Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 6 of 7




corroborating these statements and assertions will likely not be uncovered. Not only would this

prevent Plaintiffs from attaining the full information they seek; it would also likely prevent

Plaintiffs from sufficiently proving their case to succeed in a motion for default judgment.

However, with this evidence, Plaintiffs will be able to establish the truth of their allegations for

the purposes of Fed. R. Civ. Proc. 55(b)(2)(C). The requested discovery is therefore directly

linked to the injury that Plaintiffs would suffer, and as Defendants are in default, ordering

discovery would not cause undue injury to Defendants. This motion is not made for the purpose

of delay or for the purpose of prejudice to Defendants, but will facilitate and advance this action.

   3. Under the reasonableness test, Plaintiffs should be granted limited, expedited

       discovery.

   Plaintiffs are seeking discovery of information essential to the disposition of this suit. The

information Plaintiffs intend to seek will be requested primarily of third parties, not directly from

Defendants. Therefore, discovery will not place undue burden upon Defendants, who are

nonetheless in default and not actively engaged in litigating this case. Due to Defendants’

unresponsiveness, Plaintiffs must seek information from third parties that could have been

provided by Defendants; therefore the burden of discovery lies upon Plaintiffs and not

Defendants.

   The breadth of discovery will be focused upon establishing admissible evidence to prove the

core claims of Plaintiffs’ case against Defendants. As discussed above, Plaintiffs seek to

establish evidence of Defendants’ retaliatory actions against Plaintiffs and other family members

of the Sanchi crew, as well as evidence showing that Defendants have intentionally promoted

misinformation about the Sanchi incident. Plaintiffs further believe that surveillance and

communication records from the time of the incident and the later sinking of the Sanchi will



                                                  6
          Case 1:19-cv-03688-ABJ Document 12 Filed 08/10/20 Page 7 of 7




demonstrate Defendants’ negligence or willful inaction leading to the disappearance or death of

the Sanchi crew. Because Defendants are in default, discovery is requested so that Plaintiffs may

sufficiently prepare their arguments for a motion for default judgment. The “typical discovery

process” would not otherwise occur, and Plaintiffs ask that this Court order the requested

discovery to ensure that they have the ability to pursue such essential evidence.

                                         CONCLUSION

For the foregoing reasons, Plaintiffs respectfully request that the Court grant their Motion for

Limited Discovery for 90 days to assist Plaintiffs in preparing a motion for default judgment

against Defendants.



Dated August 10, 2020.



Respectfully submitted,




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